Case 3:03-cr-00159-G       Document 129     Filed 12/05/12     Page 1 of 1   PageID 508



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




UNITED STATES OF AMERICA,                    )
                                             )
             Plaintiff,                      )
                                             )               CRIMINAL ACTION NO.
VS.                                          )
                                             )               3:03-CR-159(01)-G
LINDA TATUM,                                 )
                                             )
             Defendant.                      )




        ORDER ACCEPTING FINDINGS AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE

      After making an independent review of the pleadings, files and records in this

case, and the findings and recommendation of the United States Magistrate Judge

dated October 13, 2011, the court finds that the findings and recommendation of the

magistrate judge are correct and they are accepted as the findings and

recommendation of the court.

      It is, therefore, ORDERED that the findings and recommendation of the

United States Magistrate Judge are accepted.


December 5, 2012.

                                          ___________________________________
                                          A. JOE FISH
                                          Senior United States District Judge
